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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA


IN RE: FEMA TRAILER                                         MDL NO. 1873
FORMALDEHYDE
PRODUCT LIABILITY LITIGATION                                SECTION “N-5"

                                                            JUDGE ENGELHARDT
                                                            MAG. JUDGE CHASEZ

THIS DOCUMENT IS RELATED TO ALL CASES

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              Motion for Court Approval and Adoption of the
              Special Master’s Recommendations Concerning
                      Distribution of Settlement Funds

       NOW INTO COURT COMES Daniel J. Balhoff, Special Master, and moves for the Court’s

approval and adoption of the Special Master’s Recommendations Concerning Distribution of

Settlement Funds (filed on September 5, 2013) for the following reasons:

                                                 1.

       The Special Master has coordinated with the CADA to implement the methodology that the

Court adopted on March 20, 2013. The Special Master also coordinated with the CADA to

implement a method of informing the claimants of allocations and procedure for claimants to object

and appeal their allocations that the Court also adopted.

                                                 2.

       The Special Master and the CADA reviewed the objections and made determinations on all

objections. At this time the Special Master and the CADA have determined which claimants should

share in the settlement fund. In order to distribute these allocations, the Special Master asks the
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Court to adopt recommendations as outlined in the Special Master’s Report.

                                                 3.

       The Special Master’s Recommendations have been submitted and reviewed by liaison

counsel for plaintiffs and defendants, and there are no objections.



       WHEREFORE, the Special Master prays that the Motion for Court Approval and Adoption

of the Special Master’s Recommendations Concerning Distribution of Settlement Funds be granted.


                                              Respectfully Submitted:

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                                              BY:     s/Daniel J. Balhoff
                                                      Daniel J. Balhoff (18776)
                                                      Randi S. Ellis (25251)




                                  Certificate of Service
       I hereby certify that on September 5, 2013, I electronically filed the foregoing with the Clerk

of Court by using the CM/ECF system which will send a notice of electronic filing to all counsel of

record who are CM/ECF participants.


                                              s/Daniel J.Balhoff
